            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION

                        CRIMINAL NO. 2:08CR12


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )            ORDER
                                         )
AMY ELIZABETH ARCH                       )
DAWN RAE TEESATESKIE                     )
MICHAEL WAYNE WALKINGSTICK               )
                                         )


     THIS MATTER is before the Court on the Government’s Notice of

Restitution and request to file documentation out of time. The

Government’s request to file such documentation out of time will be

allowed.

     At the sentencing proceedings for each of the captioned Defendants,

the Court directed the Government to provide documentation attesting to

the amount of lost wages suffered by the victim herein. The Government

has submitted an affidavit from Amy Hoffman for Wade Shows, Inc., stating

that the victim, Daniel Perez, earns $400 per week; as a result of his

injuries at the hands of the Defendants herein, he was out of work from

March 3, 2008, until May 13, 2008, a period of ten weeks; which totals



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$4,000 in lost wages. See Attachment A, to Government’s Notice of

Restitution, filed October 6, 2008. No Defendant has filed any objection

or response to the Government’s Notice. Therefore, the Court will direct

that this amount of lost wages be incorporated into the Judgments filed

herein.

     IT IS, THEREFORE, ORDERED that the Clerk prepare Amended

Judgments as to each captioned Defendant reflecting the following:

1.   The restitution amount on Page 3 of each Judgment should be

     amended to reflect the total amount of restitution to be $93,728.74;

     and

2.   The amount of $4,000 in lost wages be added to the list of Restitution

     Payees as due and owning to Daniel J. Perez on Page 3a of each

     Judgment. The paragraph beginning, “The issue of loss (sic) wages

     will be addressed,” shall be deleted.

     IT IS FURTHER ORDERED that the Government’s request to file out

of time is ALLOWED.                  Signed: October 28, 2008




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